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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Seeking Appointment as Attorney for Defendant
6    PHILLIP JACKSON
7
8
                         IN THE UNITED STATES DISTRICT COURT
9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )      No. Cr. F 03- 5054 OWW
12                                   )
                    Plaintiff,       )      REQUEST FOR APPOINTMENT OF
13                                   )      COUNSEL; ORDER
          v.                         )
14                                   )      RETROACTIVE CRACK COCAINE
     PHILLIP JACKSON,                )      REDUCTION CASE
15                                   )
                    Defendant.       )      Date: June 30, 2008
16                                   )      Time: 9:00 a.m.
     _______________________________ )      Judge: Hon. OLIVER W. WANGER
17
          Pursuant to 18 U.S.C. §§ 3006A(c) and 3852(c)(2), Defendant,
18
     PHILLIP JACKSON, hereby requests the court appoint the Office of the
19
     Federal Defender and Assistant Federal Defender David M. Porter as
20
     counsel to represent him with respect to his motion to reduce sentence
21
     pursuant to 18 U.S.C. § 3582(c)(2), filed April 25, 2008.          Mr. Porter
22
     is familiar with the case and is willing to accept the appointment.*
23
          Appointment of counsel would serve the interests of justice in
24
     this case because it might facilitate a negotiated disposition of the
25
     motion and because the motion might raise novel legal issues
26
27
          *
            Mr. Jackson has authorized the undersigned to file this
28   application on his behalf.
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1    surrounding application of the United States Sentencing Commission’s
2    recent retroactive reduction of sentences under the crack cocaine
3    guidelines.    Because Mr. Jackson’s substantial rights may be affected
4    by these criminal proceedings, he is constitutionally entitled to
5    appointment of counsel.     Mempa v. Rhay, 389 U.S. 128, 134 (1967).
6         Accordingly, Mr. Jackson requests the Court issue the order lodged
7    herewith.
8    Dated:   June 17, 2008
9                                Respectfully submitted,
10                               DANIEL J. BRODERICK
                                 Federal Defender
11
12                                 /s/ David M. Porter
                                 DAVID M. PORTER
13                               Assistant Federal Defender
14                               Seeking Appointment as Attorney for Movant
                                 PHILLIP JACKSON
15
16
                                        O R D E R
17
          Pursuant to defendant’s request, and good cause appearing
18
     therefor, the Office of the Federal Defender and Assistant Federal
19
     David M. Porter is hereby appointed to represent defendant with respect
20
     to his motion to reduce sentence.
21
22
     IT IS SO ORDERED.
23
     Dated: June 17, 2008                  /s/ Oliver W. Wanger
24   emm0d6                           UNITED STATES DISTRICT JUDGE
25
26
27
28

     REQUEST FOR COUNSEL
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